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 Attorneys for Plaintiffs

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAI‘I

 LIANE WILSON, and           Case No. CV 11-00538 LEK BMK
 JOANNA WHEELER ON BEHALF OF
 THEMSELVES

                            Plaintiffs,
 v.

 WYNDHAM WORLDWIDE
 CORPORATION, WYNDHAM                     STIPULATION TO FILE
 VACATION OWNERSHIP, INC.,                FIRST AMENDED COMPLAINT;
 WYNDHAM VACATION RESORTS,                EXHIBIT “A”
 INC., MICHAEL JONAH, MARK
 POLLARD, TOM VIRAG, DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,

                            Defendants.
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          STIPULATION TO FILE FIRST AMENDED COMPLAINT


       Pursuant to Fed. R. Civ. P. 15(c), and L.R. 10.3 & 10.4, Plaintiff Liane Wilson

 and Joanna Wheeler, through their attorneys, and Defendants Wyndham Worldwide

 Corporation, Wyndham Vacation Ownership, Inc., Wyndham Vacation Resorts, Inc.,

 Michael Jonah, Mark Pollard, and Tom Virag, through their attorneys, hereby stipulate

 to the filing of the First Amended Complaint, in the form attached to this stipulation

 as Exhibit “A,” which contains a final version of the First Amended Complaint and

 a red-lined version, in order to assert only individual claims against the various

 Defendants.

       Neither of the individual Plaintiffs wishes to proceed as a class representative,

 and the proposed First Amended Complaint therefore eliminates all claims for a

 purported class. Pursuant to this stipulation, both of the plaintiffs avow to the Court

 and stipulate that they will not file or enter a class or collective action in any court in

 the United States on the basis of any theory of recovery stemming from the facts

 stated in the original complaint pending before this Court.
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                Dated: November 14, 2012. Respectfully Submitted:

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        Honolulu HI 96813

 Attorney for Defendant Mark Pollard

 APPROVED AND SO ORDERED:

 Date: Honolulu, Hawaii, November 19, 2012.



                                                    /S/ Barry M. Kurren
                                                   Barry M. Kurren
                                                   United States Magistrate Judge




 Wilson, et al. v. Wyndham Worldwide Corp., et al., Case No. CV 11-00538 LEK BMK STIPULATION TO
 FILE FIRST AMENDED COMPLAINT
